        Case 2:06-cr-00176-CG-M                       Doc# 970           Filed 03/27/15            Page 1 of 1                 PageID# 4568
$2 5HY $/6'2UGHU5HJDUGLQJ0RWLRQIRU6HQWHQFH5HGXFWLRQ3XUVXDQWWR86& F 


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                                                                        IRUWKH
                                                      BBBBBBBBBB'LVWULFWRIBBBBBBBBBB
                                                       Southern District of Alabama

                    8QLWHG6WDWHVRI$PHULFD
                               Y
                 OTTO DAVION THOMPSON                                           &DVH1R       06-00176-002
                                                                                8601R 09552-003
'DWHRI2ULJLQDO-XGJPHQW                            03-29-2007
'DWHRI3UHYLRXV$PHQGHG-XGJPHQW                    04-13-2012                Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        8SRQPRWLRQRI u   ✔  WKHGHIHQGDQW u WKH'LUHFWRURIWKH%XUHDXRI3ULVRQV u WKHFRXUWXQGHU86&
 F  IRUDUHGXFWLRQLQWKHWHUPRILPSULVRQPHQWLPSRVHGEDVHGRQDJXLGHOLQHVHQWHQFLQJUDQJHWKDWKDV
VXEVHTXHQWO\EHHQORZHUHGDQGPDGHUHWURDFWLYHE\WKH8QLWHG6WDWHV6HQWHQFLQJ&RPPLVVLRQSXUVXDQWWR86&
 X DQGKDYLQJFRQVLGHUHGVXFKPRWLRQDQGWDNLQJLQWRDFFRXQWWKHSROLF\VWDWHPHQWVHWIRUWKDW866*%
DQGWKHVHQWHQFLQJIDFWRUVVHWIRUWKLQ86& D WRWKHH[WHQWWKDWWKH\DUHDSSOLFDEOH
IT IS ORDEREDWKDWWKHPRWLRQLV
           u '(1,(' u✔ *5$17('DQGWKHGHIHQGDQW¶VSUHYLRXVO\LPSRVHGVHQWHQFHRILPSULVRQPHQW(as reflected in
the last judgment issued)RI      151            PRQWKVis reduced to 121 months                           



ADDITIONAL COMMENTS




([FHSWDVRWKHUZLVHSURYLGHGDOOSURYLVLRQVRIWKHMXGJPHQWGDWHG                          03-29-2007          VKDOOUHPDLQLQHIIHFW
IT IS SO ORDERED                                                    Callie V.S. Granade                       Digitally signed by Callie V.S. Granade U.S. District Judge
                                                                                                               DN: cn=Callie V.S. Granade U.S. District Judge, o=U.S.
                                                                                                               Government, ou=Federal Judiciary,

2UGHU'DWH                  03-27-2015                              U.S. District Judge                       email=efile_granade@alsd.uscourts.gov, c=US
                                                                                                               Date: 2015.03.26 10:24:26 -06'00'
                                                                                                      Judge’s signature


(IIHFWLYH'DWH              11-01-2015                                                      United States District Judge
                     (if different from order date)                                                Printed name and title
